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            8                               UNITED STATES DISTRICT COURT

            9          NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION

           10   GORDON NOBORU YAMAGATA and                    Case No. 3:17-cv-03529-VC
                STAMATIS F. PELARDIS, individually and
           11   on behalf of all others similarly situated,   [PROPOSED] ORDER GRANTING FINAL
                                                              APPROVAL OF CLASS ACTION
           12                 Plaintiffs,                     SETTLEMENT AND AWARDING
                                                              ATTORNEYS’ FEES, REIMBURSEMENT
           13          v.                                     OF EXPENSES, AND SERVICE AWARDS
                                                              FOR CLASS REPRESENTATIVES
           14   RECKITT BENCKISER LLC,

           15                 Defendant.                      CLASS ACTION

           16
                                                              District Judge Vince Chhabria
           17                                                 Courtroom 4, 17th Floor

           18                                                 JURY TRIAL DEMANDED

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            1           This matter came on for hearing on October 28, 2021, at 10:00 am. The Court has considered

            2   the Settlement Agreement filed on May 12, 2021 (the “Settlement Agreement”). See ECF No. 221-

            3   2.

            4           On June 19, 2017, plaintiffs Gordon Noboru Yamagata and Stamatis F. Pelardis filed a class

            5   action complaint against Reckitt Benckiser in the United States District Court for the Northern

            6   District of California captioned Yamagata v. Reckitt Benckiser, LLC, Case No. 3:17-cv-03529-VC,

            7   on behalf of themselves and all other consumers who purchased Reckitt Benckiser Move Free

            8   Advanced products. On October 22, 2018, a related class action was filed by plaintiff Maureen

            9   Carrigan against Reckitt Benckiser in the United States District Court for the Northern District of
           10   Illinois captioned Carrigan v. Reckitt Benckiser, LLC, Case No. 1:18-cv-07073. On March 2, 2021,

           11   Plaintiffs filed a Second Amended Class Action Complaint in this action alleging a nationwide class

           12   and including Yamagata, Pelardis, Maureen Carrigan, Lori Coletti, Ann-Marie Maher, Carol

           13   Marshall, Deborah A. Rawls, Oneita Steele, and Maxine Tishman as named plaintiffs.

           14           The parties have engaged in substantial litigation and discovery, including expert discovery

           15   and were about to file pretrial motions in advance of a March 22, 2021 trial in this Court. In the

           16   course of litigation and in preparation for trial: (i) Plaintiffs’ Counsel reviewed over 303,000 pages

           17   of hard-copy and electronic documents produced by Reckitt Benckiser; (ii) over 7,500 pages of

           18   documents obtained as the result of more than twenty subpoenas Plaintiffs’ Counsel served on third

           19   party retailers of Move Free Advanced, Defendant’s ingredient supplier, and scientists and
           20   researchers who conducted studies on Move Free Advanced; (iii) Plaintiffs’ Counsel submitted nine

           21   expert declarations in connection with class certification, summary judgment and motions to exclude

           22   testimony, and eleven expert reports pursuant to Federal Rule of Civil Procedure 26 from seven

           23   experts on issues relating to advertising and marketing, scientific evidence on the inefficacy of Move

           24   Free Advanced, and damages; (iv) Defendant’s Counsel submitted ten expert reports and

           25   declarations pursuant to Federal Rule of Civil Procedure 26 from eight experts on the above issues;

           26   (v) the Parties collectively deposed 30 witnesses (25 by Plaintiffs and five by Defendant); and
           27   (vi) the Parties have engaged in extensive motion practice, including class certification and

           28   summary judgment. See ECF No. 221-1 at ¶¶ 4-32.
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            1          The Parties also participated in numerous arm’s-length settlement mediations at different

            2   stages throughout the litigation, including seven formal and numerous informal mediation and

            3   settlement negotiation sessions before three different neutrals: the Honorable Wayne R. Anderson

            4   (Ret.), the Hon. Jacqueline Corley, and with Robert A. Meyer, Esq. Throughout the course of

            5   mediation efforts, the Parties were simultaneously engaging in the discovery and litigation efforts

            6   described above. ECF No. 221-1 at ¶¶ 33-37.

            7          Under the Settlement, Defendant will create a $50,000,00.00 common fund. This all-cash,

            8   non-reversionary common fund will be distributed to compensate Plaintiffs’ Counsel their fees and

            9   expenses, as awarded by the Court, to pay Class Representative service awards, as awarded by the
           10   Court, to pay the Court-appointed Settlement Administrator for notice and settlement administration

           11   costs, to provide cash payments to Class Members, and to distribute any remainder, if any, to the cy

           12   pres recipient.

           13          A hearing was held before this Court on June 24, 2021, on the Motion for Preliminary

           14   Approval. See ECF No. 221. The Court granted the motion. See ECF No. 227. Before the Court is

           15   the last stage of the settlement approval process: final approval of the Settlement. Plaintiffs have

           16   separately moved approval of attorneys’ fees and expenses and service awards for the Class

           17   Representatives. See ECF No. 230.

           18          At the final approval hearing, Timothy G. Blood and Thomas J. O’Reardon II of Blood Hurst

           19   & O’Reardon, LLP appeared for Plaintiffs and the Class, and David Biderman and Jasmine
           20   Wetherell of Perkins Coie LLP appeared for Defendant.

           21          An opportunity to be heard having been given to all other persons desiring to be heard as

           22   provided in the Class Notice and having considered all of the submissions and arguments, and good

           23   cause appearing therefore, IT IS HEREBY ORDERED AS FOLLOWS:

           24          1.         This Final Order incorporates herein and makes a part hereof the Settlement

           25   Agreement, including the Exhibits thereto, and incorporates by reference the definitions in the

           26   Settlement Agreement, and all terms used herein shall have the same meanings as set forth in the
           27   Settlement Agreement unless set forth differently herein.

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            1            2.     The Court has jurisdiction over the subject matter of this action, and all Parties to the

            2   action for purpose of settlement, including all Class Members.

            3            3.     Pursuant to Federal Rule of Civil Procedure 23, the Court certifies the following

            4   Settlement Class for settlement purposes, only:

            5            All persons who purchased within the United States and its territories Move Free
            6            Advanced, Move Free Advanced Plus MSM, or Move Free Advanced Plus MSM
                         & Vitamin D, other than solely for purposes of resale, from May 28, 2015 to June
            7            24, 2021.

            8            Excluded from the Settlement Class are: (i) jurists and mediators who are or have
                         presided over the Action, Plaintiffs’ Counsel and Defendant’s Counsel, their
            9            employees, legal representatives, heirs, successors, assigns, or any members of
           10            their immediate family; (ii) any government entity; (iii) Reckitt Benckiser and any
                         entity in which Reckitt Benckiser has a controlling interest, any of its subsidiaries,
           11            parents, affiliates, and officers, directors, employees, legal representatives, heirs,
                         successors, or assigns, or any members of their immediate family; and (iv) any
           12            persons who timely opt-out of the Settlement Class.
           13            4.     Pursuant to Federal Rule of Civil Procedure 23(a), the Court finds Plaintiffs Gordon
           14   Noboru Yamagata, Stamatis F. Pelardis, Maureen Carrigan, Lori Coletti, Ann-Marie Maher, Carol
           15   Marshall, Deborah A. Rawls, Oneita Steele, and Maxine Tishman are members of the Settlement
           16   Class, their claims are typical of the Settlement Class, and they fairly and adequately protected the
           17   interests of the Settlement Class throughout their involvement in this action. Hanlon v. Chrysler
           18   Corp., 150 F.3d 1011, 1020 (9th Cir. 1998). Accordingly, the Court hereby appoints Gordon Noboru
           19   Yamagata, Stamatis F. Pelardis, Maureen Carrigan, Lori Coletti, Ann-Marie Maher, Carol Marshall,
           20   Deborah A. Rawls, Oneita Steele, and Maxine Tishman as Class Representatives for the Settlement
           21   Class.
           22            5.     The Court finds that the Settlement Class meets all requirements of Federal Rules of
           23   Civil Procedure 23(a) and (b)(3) for certification of the claims alleged in the First Amended Class
           24   Action Complaint, including: (a) numerosity; (b) commonality; (c) typicality; (d) adequacy of the
           25   class representative and Class Counsel; (e) predominance of common questions of fact and law
           26   among the Settlement Class; and (f) superiority. See Yamagata v. Reckitt Benckiser LLC, No. 17-
           27   cv-03529-VC, 2019 U.S. Dist. LEXIS 117599 (N.D. Cal. June 5, 2019) (granting class certification).
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            1          6.      Having considered the factors set forth in Federal Rule of Civil Procedure 23(g)(1),

            2   the Court makes final its appointment of Timothy G. Blood and Thomas J. O’Reardon II of Blood

            3   Hurst & O’Reardon, LLP as Class Counsel to represent the Class Members. Staton v. Boeing, 327

            4   F.3d 938, 957 (9th Cir. 2003). Class Counsel from Blood Hurst & O’Reardon, LLP are qualified

            5   and experienced in class action litigation, including in prosecuting false advertising cases. See ECF

            6   No. 221-4 (Blood Hurst & O’Reardon, LLP firm resume).

            7          7.      The Court finally confirms appointment of Epiq Class Action and Claims Solutions

            8   as the Settlement Administrator. All fees and costs associated with the Class Notice Program and

            9   claims administration shall be paid by Defendant, as set forth in the Settlement Agreement. The
           10   Settlement Administrator is directed to perform all responsibilities assigned in the Settlement

           11   Agreement.

           12          8.      The Court finds that the persons excluded from the Settlement Class because they

           13   filed valid requests for exclusion (“Opt-Outs”) are identified in Exhibit A to this Order. These Class

           14   Members who filed timely, completed Opt-Outs are not bound by this Order and the accompanying

           15   Final Judgment or the terms of the Settlement Agreement and may pursue their own individual

           16   remedies against Defendant. However, such persons are not entitled to any rights or benefits

           17   provided to Class Members by the terms of the Settlement Agreement.

           18          9.      The Court directed that Class Notice be given to the Class Members pursuant to the

           19   notice program proposed by the Parties and approved by the Court. In accordance with the Court’s
           20   Preliminary Approval Order and the Court-approved notice program, the Settlement Administrator

           21   caused the forms of Class Notice to be disseminated as ordered. The Long-form Class Notice

           22   advised Class Members of the terms of the Settlement Agreement; the Final Approval Hearing, and

           23   their right to appear at such hearing; their rights to remain in, or opt out of, the Settlement Class and

           24   to object to the Settlement Agreement; procedures for exercising such rights; and the binding effect

           25   of this Order and accompanying Final Judgment, whether favorable or unfavorable, to the

           26   Settlement Class.
           27          10.     The distribution of the Class Notice pursuant to the Class Notice Program constituted

           28   the best notice practicable under the circumstances, and fully satisfies the requirements of Federal
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            1   Rule of Civil Procedure 23, the requirements of due process, 28 U.S.C. § 1715, and any other

            2   applicable law. Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 173 (1974); Rodriguez v. West Publ’g

            3   Co., 563 F.3d 948, 962 (9th Cir. 2009).

            4           11.     Pursuant to Federal Rule of Civil Procedure 23(e)(2), the Court finds after a hearing

            5   and based upon all submissions of the Parties and interested persons, the Settlement Agreement

            6   proposed by the Parties is fair, reasonable, and adequate. In reaching this conclusion, the Court

            7   considered the record in its entirety and heard the arguments of counsel for the Parties and all other

            8   persons seeking to comment on the proposed Settlement Agreement. The Court has carefully

            9   considered the objections to the Settlement, including to Class Counsel’s request for attorneys’ fees
           10   and expenses, and finds the objections are without merit, and they do not undermine the Court’s

           11   determination herein that the Settlement as a whole “is fundamentally fair within the meaning of

           12   Rule 23(e).” Lane v. Facebook, Inc., 696 F.3d 811, 818-19 (9th Cir. 2012). Accordingly, the

           13   objections are overruled. In addition, the Court has considered a number of factors, including: (1) the

           14   complexity, expense, and likely duration of the litigation; (2) the reaction of the Class Members to

           15   the Settlement Agreement; (3) the stage of the proceedings and the amount of discovery completed;

           16   (4) the risks of establishing liability; (5) the risks of establishing damages; (6) the risks of

           17   maintaining the class action through the trial; (7) the ability of Defendant to withstand a greater

           18   judgment; and (8) the reasonableness of the relief provided by the Settlement Agreement in light of

           19   the best possible recovery. Officers for Justice v. Civil Serv. Comm’n, 688 F.2d 615, 625 (9th Cir.
           20   1982); Class Plaintiffs v. Seattle, 955 F.2d 1268, 1291 (9th Cir. 1992); Rodriguez, 563 F.3d at 965.

           21           12.     The terms and provisions of the Settlement Agreement are the product of lengthy,

           22   arms-length negotiations conducted in good faith and with the assistance of experienced mediators:

           23   the Honorable Wayne R. Anderson (Ret.), the Hon. Jacqueline Corley, and Robert A. Meyer, Esq.

           24   Campbell v. Facebook, Inc., 951 F.3d 1106, 1122 (9th Cir. 2020). Approval of the Settlement

           25   Agreement will result in substantial savings of time, money and effort to the Court and the Parties,

           26   and will further the interests of justice.
           27

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            1          13.     All Class Members who have not timely and validly opted out are Class Members

            2   who are bound by this Order and accompanying Final Judgment and by the terms of the Settlement

            3   Agreement.

            4          14.     Nothing in the Settlement Agreement, this Order, the accompanying Final Judgment,

            5   or the fact of the settlement constitutes any admission by any of the Parties of any liability,

            6   wrongdoing or violation of law, damages or lack thereof, or of the validity or invalidity of any claim

            7   or defense asserted in the action.

            8          15.     The Court has considered the submissions by the Parties and all other relevant

            9   factors, including the result achieved and the efforts of Class Counsel and the other Plaintiffs’
           10   Counsel in prosecuting the claims on behalf of the Settlement Class. The efforts of Class Counsel

           11   and the other Plaintiffs’ Counsel have produced the Settlement Agreement entered into in good faith,

           12   and which provides a fair, reasonable, adequate, and certain result for the Settlement Class. Class

           13   Counsel have made application for an award of attorneys’ fees and reimbursement of expenses in

           14   connection with the prosecution of the action on behalf of themselves and the other Plaintiffs’

           15   counsel. See ECF No. 230. The fee award requested is 25% of the Common Fund. This amount is

           16   fair, reasonable, and adequate under the common fund doctrine, the range of awards ordered in this

           17   District and Circuit, the excellent results obtained, the substantial risk borne by Class Counsel and

           18   the other Plaintiffs’ Counsel in litigating this matter, the degree of skill and quality of work

           19   performed, the financial burden imposed by the contingency basis of Class Counsel’s and the other
           20   Plaintiffs’ Counsel’s representation of Plaintiffs and the Class, and the additional work required of

           21   Class Counsel and the other Plaintiffs’ Counsel to bring this Settlement to conclusion. Hanlon, 150

           22   F.3d at 1029; Six (6) Mexican Workers v. Ariz. Citrus Growers, 904 F.2d 1301, 1311 (9th Cir. 1990);

           23   In re Hyundai & Kia Fuel Econ. Litig., 926 F.3d 539, 570 (9th Cir. 2019). The Court finds the fee

           24   award is further supported by a lodestar crosscheck, whereby it finds that the hourly rates of

           25   Plaintiffs’ Counsel are reasonable, and that the hours expended were reasonable. Hyundai, 926 F.3d

           26   at 570; Wershba v. Apple Computer, Inc., 91 Cal. App. 4th 224, 255 (2001). Accordingly, the Court
           27   hereby awards $12,500,000.00 as attorneys’ fees to be paid by the Defendant in accordance with the

           28
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            1   terms of the Settlement Agreement. Class Counsel shall be responsible for distributing and

            2   allocating the attorneys’ fees and expenses award to Plaintiffs’ Counsel in their sole discretion.

            3          16.     Five (5) percent of the attorneys’ fees awarded will be held back pending the filing

            4   of a Post-Distribution Accounting by Class Counsel. The Post-Distribution Accounting shall be filed

            5   within twenty-one (21) days after the distribution of the settlement funds and should explain in detail

            6   when cash payments were sent to Class Members, the number of members who were sent payments,

            7   the total amount of payments paid out to Class Members, the average and median recovery per Class

            8   Member, the largest and smallest amounts of cash payments paid to Class Members, the number

            9   and value of cashed and uncashed checks, the amount distributed to any cy pres recipient, any
           10   significant or recurring concerns communicated by Class Members to the Settlement Administrator

           11   and counsel since final approval, and any other issues in settlement administration since final

           12   approval, and how any concerns or issues were resolved. Class Counsel are expected to diligently

           13   supervise the administration of the Settlement and remain in close contact with the Settlement

           14   Administrator. With the Post-Distribution Accounting, Class Counsel should submit a proposed

           15   order releasing the remainder of the fees.

           16          17.     Class Counsel have also made application for an award of litigation expenses in

           17   connection with the prosecution of the action on behalf of themselves and the other Plaintiffs’

           18   Counsel. Finding that such expenses were reasonably and necessarily incurred in prosecuting the

           19   action on behalf of the Settlement Class, the Court finally approves Class Counsel’s request for
           20   litigation expenses in the amount of $658.050.95, which is to be paid by the Defendant in accordance

           21   with the terms of the Settlement Agreement. Staton, 327 F.3d at 974; In re Omnivision Techs., 559

           22   F. Supp. 2d 1036, 1048 (N.D. Cal. 2007).

           23          18.     Further, the Court approves service awards of $7,500 each for Plaintiffs Gordon

           24   Noburo Yamagata, Stamatis F. Pelardis and Maureen Carrigan, and $500 each for Plaintiffs Lori

           25   Coletti, Ann-Marie Maher, Carol Marshall, Deborah A. Rawls, Oneita Steele, and Maxine Tishman.

           26   The Class Representatives participated in the action, acted to protect the Settlement Class, and
           27   assisted their counsel. See ECF No. 230-1 at Ex. 1 (Class Representatives’ declarations). These

           28   service awards, which are fair, reasonable, and justified, are to be paid in accordance with the terms
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            1   of the Settlement Agreement. Rodriguez, 563 F.3d at 958-59; Galeener v. Source Refrigeration &

            2   HVAC, Inc., No. 3:13-cv-04960-VC, 2015 U.S. Dist. LEXIS 193096, at *7-8 (N.D. Cal. Aug. 21,

            3   2015).

            4            19.    The Court has considered all relevant factors and hereby approves the Orthopaedic

            5   Research Society as the designated cy pres recipient of any monies (if any) remaining after the

            6   negotiation period of the Cash Payments in accordance with the Agreement. See ECF No. 203-3

            7   (Declaration of Brenda A. Frederick in Support of Cy Pres Designation of Orthopaedic Research

            8   Society); Nachsin v. AOL, LLC, 663 F.3d 1034 (9th Cir. 2011); Six (6) Mexican Workers, 904 F.2d

            9   at 1305.
           10            20.    The Court hereby dismisses with prejudice this action, and all Released Claims

           11   against each and all Released Parties, and without costs to any of the Parties as against the others.

           12            21.    Without affecting the finality of this Order and the Final Judgment, the Court

           13   reserves jurisdiction over the implementation, administration, and enforcement of this Order, the

           14   Final Judgment and the Settlement Agreement, and all matters ancillary thereto.

           15            22.    The Court finding that no reason exists for delay in entering this Order and the Final

           16   Judgment pursuant to Federal Rules of Civil Procedure, Rule 54(b), the Clerk is hereby directed to

           17   enter the Final Judgment forthwith.

           18            23.    The Parties and the Settlement Administrator are hereby directed and authorized to

           19   implement and consummate the Settlement according to the terms and provisions of the Settlement
           20   Agreement. In addition, the Parties, without further approval of the Court, are authorized to agree

           21   to and adopt such amendments and modifications to the Settlement Agreement so long as they are:

           22   (i) consistent in all material respects with this Final Order and the Final Judgment; and (ii) do not

           23   limit the rights of the Settlement Class.

           24            IT IS SO ORDERED.

           25            Date: October 28, 2021
           26
                                                                     HONORABLE VINCE CHHABRIA
           27                                                       UNITED STATES DISTRICT JUDGE
           28
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            1                                   EXHIBIT A

            2
                             TIMELY REQUESTS FOR EXCLUSION (“OPT-OUTS”)
            3
                1. ANNA BIGUS
            4   2. BARBARA BOYDSION
                3. BARBARA J BABCOCK
            5
                4. BARBARA S DUDLEY
            6   5. BARBARA STRICKLAND
                6. BETTY G WEATHERBEE
            7   7. BRENDA HODGEN
                8. CAROL J STOEFFLER
            8   9. CAROL MCGHEE
                10. CAROLE DIAZ
            9
                11. CAROLYN A MOHR
           10   12. CHRISTINE RINAUDO
                13. CORAL GELATKA
           11   14. DANIEL SIBELRUD
                15. DAVID EYTCHISON
           12   16. DEANNE PENNINGS
           13   17. DIANE TOBIN
                18. DIANNE VICKERY
           14   19. DONALD P SPARKS
                20. DONNA L CROTTY
           15   21. DOYLE RUNYAN
                22. ELVA G ST CLAIR
           16   23. GARY E THOMPSON
           17   24. GEORGE K MUIRU
                25. HE WEI
           18   26. HELEN WANG
                27. HITASHA MITERA
           19   28. JAMES C WHITAKER
                29. JAMES MORRIS
           20   30. JEAN BROWN
           21   31. JEANETTE OLSON
                32. JEANNE BURNS
           22   33. JOAN R LYONS
                34. JOHN W BUTLER
           23   35. JOYCE EVERINGHAM
                36. JOYCE J ERICKSON
           24
                37. JUDITH KASZA
           25   38. KATHLEEN I HAMAMOTO
                39. LARELL PATTERSON
           26   40. LINDA G MARTEL
                41. LINDA HOUSE
           27   42. LINDA S HENSON
                43. LOLA NELSON
           28
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            1   44. LUCILLE CANTU
                45. MAGDELEINE HUNG
            2   46. MARIANNE P MCKENNA
                47. MARK R MULHOLLAND
            3
                48. MARLENE I JOHNSON
            4   49. MARSINE F STRATTON
                50. MARY A BLAYDES
            5   51. MARY A HEISEL
                52. MARY COOK
            6   53. MARY L RUSS
                54. MARY R ERICKSON
            7
                55. MAUREEN DONOHUE
            8   56. MILLIE ROBITAILLE
                57. NADJA M ORLUCK
            9   58. NANCY KOZAK
                59. NINGXIN XI
           10   60. NORMAN LOUGHLIN
           11   61. OLIVER STEPHENSON
                62. PATIENCE CAMPBELL
           12   63. PATRICIA M WHITLEY
                64. PETER J MURAD
           13   65. RANDY YORK
                66. RICHARD D HOWARD
           14   67. RITA BERGEVIN
           15   68. ROBERT ELLIS
                69. ROGER E TEMPLETON
           16   70. ROGER HART
                71. RON M FANNING
           17   72. RONALD WALTON
                73. ROSE M WILLIAMS
           18   74. ROSS MAY
           19   75. RUTH A JOHNSON
                76. RUTH KORTE
           20   77. SANDIA SOMMER
                78. SARA DAVIS
           21   79. SHIRLEY SOBCZAK
                80. SHIRLEY STEPHENSON
           22
                81. STEPHANIE JARA
           23   82. SUE CARTER
                83. SUSAN RUNYAN
           24   84. SYLVIA Y ALARCON
                85. TAMARA VOGEL
           25   86. THERESA CHENG
                87. TIFFANY FELIX
           26
                88. TIM SERSHEN
           27   89. VESTORIA JOHNSON
                90. WILLIAM BILL MEHL
           28   91. WILLIAM GELATKA
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            1   92. WILLIAM SCHERR
                93. YONGQI ZHANG
            2   94. YUNFEI ZHANG
                95. YVONNE KMIECIK
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                96. ZHAN ZHU
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            1                                   CERTIFICATE OF SERVICE

            2          I hereby certify that on October 21, 2021, I electronically filed the foregoing [Proposed]

            3   Order Granting Final Approval of Class Action Settlement and Awarding Attorneys’ Fees,

            4   Reimbursement of Expenses, and Service Awards for Class Representatives with the Clerk of the

            5   Court using the CM/ECF system which will send notification of such filing to the e-mail addresses

            6   denoted on the Electronic Mail Notice List.

            7          I further certify that I caused to be served the foregoing [Proposed] Order Granting Final

            8   Approval of Class Action Settlement and Awarding Attorneys’ Fees, Reimbursement of Expenses,

            9   and Service Awards for Class Representatives via the United States Postal Service to the non-
           10   CM/ECF participants indicated on the attached Service List, and that there is regular communication

           11   by mail between the place of mailing and the places so addressed.

           12          I certify under penalty of perjury under the laws of the United States of America that the

           13   foregoing is true and correct. Executed on October 21, 2021.

           14
                                                                             s/ Timothy G. Blood
           15                                                               TIMOTHY G. BLOOD
           16                                                 BLOOD HURST & O’REARDON, LLP
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00176572                           [PROPOSED] ORDER GRANTING FINAL APPROVAL
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